IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

WINCHESTER DIVISI()N
BUILDERS MUTUAL INSURANCE )
COMPANY )
)
Plaintif‘f, ) JURY DEMAND
)
v. ~ ) Civil Action No. 4:09-cv-73
) Judge Mattice
PARKER BROTHERS, LLC, and ) Magistrate Judge Lee
MARVIN B. PARKER. )
)
Defendants. )

FINAL AGREED ORDER OF COMPROMISE SETTLEMENT
AND DECLARATORY JUDGMENT

lt appearing to the Court, as evidenced by the signatures of counsel below, that the parties
have reached a compromise to settle all claims which were raised or which could have been raised
in this action, and that the parties have agreed to dismiss with prejudice their actions and claims
against each other on a compromise basis in order to avoid the further hazards and costs of
litigation;

lt is therefore ORDERED, ADJUDGED, and DECLARED that based upon the
grounds stated in the Complaint in this action for declaratory judgment, there is no coverage
under the subject Builders Mutual commercial general liability policy, Policy No. CPP 0030890
00, for any claims raised against Parker Brothers, LLC, and/or Marvin B. Parker by the Plaintiffs
in the lawsuit styled Christopher Smotherman and James Smotherman1 Sr., v. Marvin Parker and

Parker Brothers, LLCLet al, Bedford County Circuit Court, No. l 1851;

 

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It is further ORDERED, ADJUDGED, and DECREED that all claims which were
brought or which could have been brought by the parties arising from and/or in connection with
the subject racetrack incident which occurred on June 7, 2008, of Parker Brothers, LLC, and/or
Marvin B. Parker, against the subject Builders Mutual commercial general liability policy, Policy
No. CPP 0030890 OO, be and hereby are released with prejudice;

lt is further ORDERED, ADJUDGED, and DECREED that all claims which were
raised or which could have been raised in this action by Parker Brothers, LLC, and/or Marvin B.
Parker against Builders Mutual Insurance Company with regard to the subject racetrack incident
which occurred on June 7, 2008, be, and hereby are, dismissed with prejudice;

It is further ORDERED that this action be and hereby is dismissed with prejudice, each

party to bear the respective party’s own costs.

-b\
ENTER this the 5 "' day Of O¢=iv log ,2010.

UNITED s\r»leEs DISTRICT J@E

 

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APPROVED FOR ENTRY:

LEITNER, WILLIAMS, DOOLEY,
& NAPOLITAN, PLLC

By: /s/ Reid D. Leitner
Reid D. Leitner, Esq.
BPRN: 16187
414 Union Street, Suite 1900
Nashville, Tennessee 37219- 1782
(615) 255-7722

BUSSART LAW FIRM

By: /s/ Walter W. Bussart
Walter W. Bussart, Esq.
BPRN: 2862
520 North Ellington Parkway
Lewisburg, Tennessee 37091
(931) 359-6264

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